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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     June 11, 2021

Via Email
Michael E. Lawlor
Nicholas G. Madiou
Brennan, McKenna & Lawlor, Chtd.
6305 Ivy Lane, Suite 700
Greenbelt, MD 20770
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Counsel for Zachary Jordan Alam

       Re:      United States v. Zachary Jordan Alam
                Case No. 1:21-cr-00190-DLF

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:
          1. Jail calls (x35, zipped in 3 files)
          2. Search warrant for devices and Search Warrant return
          3. Additional search warrant photos from Special Agent Armor
          4. Excerpts from search warrant item number 1B8

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        These materials are subject to the Protective Order entered in this case. Please adhere to
sensitivity markings.

        I will forward additional discovery as it becomes available. Due to the extraordinary
nature of the January 6, 2021 Capitol Attack, the government anticipates that a large volume of
materials may contain information relevant to this prosecution. These materials may include, but
are not limited to, surveillance video, statements of similarly situated defendants, forensic
searches of electronic devices and social media accounts of similarly situated defendants, and
citizen tips. The government is working to develop a system that will facilitate access to these
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materials. In the meantime, please let me know if there are any categories of information that
you believe are particularly relevant to your client.

       If you have any questions, please feel free to contact me.

                                                    Sincerely,



                                                    _______________________
                                                    Candice C. Wong
                                                    Assistant United States Attorney
                                                    202-252-7849
                                                    Candice.wong@usdoj.gov




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